Case 0:13-cr-60172-DMM Document 1 Entered on FLSD Docket 07/12/2013 Page 1 of CF
                                                                              3


                                                                                      Jul 11, 2013
                            UNITED STATES DISTRICT COURT
                            SO U TH ER N D ISTRIC T O F FLO R IDA
13-60172-CR-MIDDLEBROOKS-W/BRANNON
                      CA SE N O .
                                     21U.S.C j841(a)(1)
                                     21U.S.C j841(b)(1)(A)(viii)

 UNITED STATES OF AM ERICA
 # S.

 M IC H ELLE BERR Y ,
         Defendant.
                                         /
                                       IN DIC TM EN T
         TheGrand Jurychargesthat:
                                       CO UNT ONE
        On oraboutJune 27,2013,in Broward County,in the Southern DistrictofFlorida and
 elsewhere,the defendant,

                                    M ICH ELLE BER RY ,

 didknowinglyandintentionallypossesswith intenttodistributeacontrolledsubstance, in violation

 ofTitle21,United StatesCode,Section 841(a)(1)and Title 18,UnitedStatesCode,Section2.
        PursuanttoTitle21,UnitedStatesCode,Sedion841(b)(1)(A)(viii);itisfurtherallegedthat
 thisviolationinvolvedfifty(50)grnmsormoreofmethnmphetnmine,itssalts,isomers,andsaltsof
 its isom ers.

                                                  A TRU E BILL



                              N                   Fo 'kERsof
  N
 w lFltEo o .FERRER
 UN ITED STATES A TTO RN EY

                       '' $
  ox A LD F .c H A sE.I
 ASSISTANTUNITEb STATESATTORNEY
                            UNITED STATES
   Case 0:13-cr-60172-DMM Document        DISTRI
                                    1 Entered onCTFLSD
                                                   GOURT
                                                       Docket 07/12/2013 Page 2 of 3
                           SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA                        CASE NO.
 VS.
                                                C ERTIFICATE O F TRIA L ATTO R NEY*
 M ICHELLE BERRY,
                            Defendant.
                                         I      Superseding Case Inform ation:


 CourtDivision:(selectone)                      New Defendantls)                     Yes            No
                                                NumberofNew Defendants
        Miam i             Key W est            Totalnumberofcounts
  Y     FTL                W PB          FTP
        ldo herebycedifythat:
                 lhave carefullyconsidered theallegationsofthe indictment, the numberofdefendants the numberof
                 Probable witnessesand the Iegalcomplexi ties ofthe Indictm ent/lnformation attached ?hereto.
                 Iam aware thatthe information supplied on thi
                                                             s statementwillbe relied upon by the Judges ofthis
                 Courtinsettingtheircalendarsand schedulingcriminaltri
                                                                     alsunderthe mandate ofthe SpeedyTrialAct
                 Ti
                  tl
                   e 28 U.S.C.Secti on 3161.                                                                  ,
                 Iqterpreter:     (YesorNo)      Mn
                 LI
                  stIanguage and/ordialect        M/A

                 This case willtake      R     days forthe padies to try.
                 Please check appropriate categoryand type ofoffense Iisted below:
                 (Checkonlyone)                                 (Checkonlyone)
                0 to 5 days                       X.                      Petty
                6 to 10 days                                              Minor
                11to 20 days                                              Misdem .
                21to 60 days                                              Felony
                61 daysand over
       6.        Hasthiscase beenpreviousl
                                         yfiledinthisDistrictCoud? (YesorNo)                   Mn
       Ifyes:
       Judge:                                           Case No.
       (Attachcopyofdi
                     spositi
                           ve order)
       Hasa complaintbeenfiled inthismatter?            (YesorNo)          Mn
       lfyes:
       Magistrate Case No.                     N/A
       Related Miscell
                     aneous num bers:
       Defendantts)infederalcustodyasof N/A
       Defendantts)instatecustodyasof
       Rule 20 from the                                 Districtof
       Isthisapotentialdeathpenaltycase? (YesorNo)

              Doesthiscase originatefrom am atterpending inthe Nodhern Regionofthe U.S.Attorney'sOffi
                                                                                                    ce pri
                                                                                                         or
              to October14,2003?            Yes       Y     No

       8,     Doesthiscase originate from a m atterpending inthe Central e ion ofthe U.S.Attorney'
                                                                                                 s Ofi
                                                                                                     ce pri
                                                                                                          or
              to September1,2007?            Yes              No       -
                                                        o                                  '



                                                          NALD F.CHASE,II
                                                         SSISTANT UNITED STATES ATTORNEY
                                                        CourtNo.A5500077
*penaltySheetls)attached                                                                                 REv4/&cB
   Case 0:13-cr-60172-DMM Document 1 Entered on FLSD Docket 07/12/2013 Page 3 of 3




                             UN ITED STA TE S D ISTR ICT CO U R T
                             SO UTH ERN D ISTR ICT O F FLO RID A

                                        PEN A LTY SH EET

Defendant'sNam e: M ICHELLE BERRY
Case N o:

Count #:1

  Possession withIntentto Distribute fifty(50)gramsorm ore ofM ethamohetam ine.

 Title21.United StatesCode.Sections841(a)(1)and 841fb)(1)(A)(viiià

* M ax.Penalty:M andatory m inim um 10 years'of im prisonment and statutory m aximum term of life
imprisonm ent;atleast5years'supervised release;andup to $10,000,000 fine.

Colm t #:




*M ax.Penalty:

Count #:




*M ax.Penalty:

Count #:




*M ax.Penalty:
    Wltefers only to possible term of incarceration,does not include possible fines, restitution,
    specialassessm ents,parole term s or forfeituresthatm ay be applicable.
